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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     SCOTT JOHNSON,                                       Case No. 21-cv-01925-SVK
                                   8                     Plaintiff,
                                                                                              ORDER TO SHOW CAUSE RE
                                   9                v.                                        SETTLEMENT
                                  10     EVERSHINE VI, L.P., et al.,                          Re: Dkt. No. 21
                                  11                     Defendants.

                                  12           Plaintiff reports that this case has settled. All previously-scheduled deadlines and appearances
Northern District of California
 United States District Court




                                  13   are vacated.

                                  14           By November 23, 2021, the parties shall file a stipulation of dismissal. If a dismissal is not

                                  15   filed by the specified date, then the parties shall appear on November 30, 2021 at 1:30 p.m. and show

                                  16   cause, if any, why the case should not be dismissed. Additionally, the parties shall file a statement in

                                  17   response to this Order no later than November 23, 2021, describing with specificity (1) the parties’

                                  18   efforts to finalize settlement within the time provided, and (2) whether additional time is necessary, the

                                  19   reasons therefor, and the minimum amount of time required to finalize the settlement and file the

                                  20   dismissal.

                                  21           If a dismissal is filed as ordered, the Order to Show Cause hearing will be automatically

                                       vacated and the parties need not file a statement in response to this Order.
                                  22
                                               SO ORDERED.
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                                       Dated: October 27, 2021
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                                                                                                       SUSAN VAN KEULEN
                                  27                                                                   United States Magistrate Judge

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